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MIAMI-DADE COUNTY: FLDRIDA

Prepared by or under the sit
Flora Griffin pervision of:

[City, State Zip Code}

IndyMac Banke F.S.B. c/o Document

€
{Company Name}

[Name of Naturaf Personj

901 E, 104th Street Building B suite 400/500

[Street Address}
Kansas City, MO 64131

[City, State Zip Coda}

nETURN 70. {Space Above This Line For Recording Data}
DWIDE RECORDING a
5376 W. 86th ST.
PRAIRIE VILLAGE, KS 66207 MORTGAGE
(913) 748-4665 | Obrneatisar
DEFINITIONS OOWCOI67T3 MIN
Words used in multiple sectio j
13, 18> ns of this document are defined be}
0 and 21. Certain rules regarding the usage of words wed this doen ment ang rene in sections 3

(A) “Security Instrument”
with all Riders to this document.

(B)

means this document, which js dated August 27, 2006
f

Borrower is the mortgagor under this Security Instrument
S Mortgage Electronic

solely as a nominee for L ceistration Systems, Inc. MERS i
Instrument. MERS is orem ane Lender’s successors and assigns, ME 5 a Separate corporation that is acting

ae RS is the mo
u and existing under t rtgagee under this S
Tumber of P.O. Box 2026, Flint, MI 48501-2036, tel. (888) 670 ute laware, and has an address and telephone

(C) “MERS? ;

 

 

 

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srw. compares URCEs INC.— Page lof 14 MERS Modified Form 3010 01/01.

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(D) “Lender” is IndyMac Bank, F.S.B., a federally chartered savings bank

Lenderisa Federal Savings Bank organized and existing under the laws of
United States of America . Lender’s addressis 155 North Lake
Avenue, Pasadena, CA 91101

(E) “Note” means the promissory note signed by Borrower and dated Au 2/7, 2006 . The
Note states that Borrower owes Lender one hurxired seventy eight thousand and
NO/100ths Dollars (U.S. $ 178,000.00 )

plus interest. Borrower has promised to pay this debt in regular Periodic Payments and to pay the debt in full not
laterthan September 1, 2036

(F) “Property” means the property that is described below under the heading “Transfer of Rights in the
Property.”

(G) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due
under the Note, and all sums due under this Security Instrument, plus interest.

(H) “Riders” means all Riders to this Security Instrument that are executed by Borrower. The following
Riders are to be executed by Borrower {check box as applicable}:

 

 

[| Adjustable Rate Rider [ Condominium Rider i Second Home Rider

] Balloon Rider [ Planned Unit Development Rider | Biweekly Payment Rider
[| 1-4 Family Rider [ Revocable Trust Rider

__| Other(s) fspecify]

 

 

(I) “Applicable Law” means all controlling applicable federal, state and local statutes, regulations, ordinances
and administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable
Judicial opinions.

(J) “Community Association Dues, Fees, and Assessments” means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a condominium association, homeowners association or
similar organization.

(K) “Electronic Funds Transfer” means any transfer of funds, other than a transaction originated by check,
draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer,
or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term
includes, but is not limited to, point-of-sale transfers, automated teller machine transactions; transfers initiated by
telephone, wire transfers, and automated clearinghouse transfers.

(L) “Escrow Items” means those items that are described in Section 3.

(M) “Miscellaneous Proceeds” means any compensation, settlement, award of damages, or proceeds paid by
any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to,
or destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance
in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.

(N) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or default on, the
Loan.

 

Loan No:

Florida Mortgage-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT MERS Modified Form 3010 01/01

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(QO) “Periodic Payment” means the regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(P) “RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time to time, or any
additional or successor legislation or regulation that governs the same subject matter. As used in this Security
Instrument, “RESPA” refers to all requirements and restrictions that are imposed in regard to a “federally related
mortgage loan” even if the Loan does not qualify as a “federally related mortgage loan” under RESPA.

(Q) “Successor in Interest of Borrower” means any party that has taken title to the Property, whether or not
that party has assumed Borrower’s obligations under the Note and/or this Security Instrument.

County of Dade
[Type of Recording Jurisdiction], {Name of Recording Jurisdiction}
which has a legal description of:
See Exhibit A attached hereto and made a part hereof. APN#
06-2126-021-0170. PAD

which currently has the address of 1575 Northwest 124th Street
{Street}
North Miami , Florida 33176
{City} [Zip Code]
(“Property Address”):

TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shali also be
covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the “Property.”
Borrower understands and agrees that MERS holds only legal title to the interests granted by Borrower in this
Security Instrument, but, if necessary to comply with law or custom, MERS (as nominee for Lender and Lender’s
successors and assigns) has the right: to exercise any or all of those interests, including, but not limited to, the right
to foreclose and sell the Property; and to take any action required of Lender including, but not limited to, releasing
and canceling this Security Instrument.

 

 

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the
right to mortgage, grant and convey the Property and that the Property is unencumbered, except for encumbrances of
record. Borrower warrants and will defend generally the title to the Property against ail claims and demands, subject
to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment
charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3.
Payments due under the Note and this Security Instrument shall be made in U.S. currency. However, if any check or
other instrument received by Lender as payment under the Note or this Security Instrument is returned to Lender
unpaid, Lender may require that any or all subsequent payments due under the Note and this Security Instrument be
made in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check,
bank check, treasurer’s check or cashier’s check, provided any such check is drawn upon an institution whose
deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Loan No:

 

Florida Mortgage-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT MERS Modified Form 3016 01/01
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Payments are deemed received by Lender when received at the location designated in the Note or at such
other location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may
retum any payment or partial payment if the payment or partial payments are insufficient to bring the Loan current.
Lender may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any
rights hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted, If each Periodic Payment is applied as of
its scheduled due date, then Lender need not pay interest on unapplied funds. Lender may hold such unapplied
funds until Borrower makes payment to bring the Loan current. If Borrower does not do so within a reasonable
period of time, Lender shall either apply such funds or return them to Borrower. If not applied earlier, such funds
will be applied to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or
claim which Borrower might have now or in the future against Lender shall relieve Borrower from making payments
due under the Note and this Security Instrument or performing the covenants and agreements secured by this
Security Instrument.

z. Application of Payments or Proceeds, Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note:
(b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic
Payment in the order in which it became due. Any remaining amounts shall be applied first to late charges, second
to any other amounts due under this Security Instrument, and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If
more than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the
repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that
any excess exists after the payment is applied to the full payment of one or more Periodic Payments, such excess
may be applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment charges and
then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3, Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under
the Note, until the Note is paid in full, a sum (the Funds”) to provide for payment of amounts due for: (a) taxes and
assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance on the
Property; (b) leasehold payments or ground rents on the Property, if any; (Cc) premiums for any and all insurance
required by Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by
Borrower to Lender in lieu of the payment of Mortgage Insurance premiums in accordance with the provisions of
Section 10. These items are called “Escrow Items.” At origination or at any time during the term of the Loan,
Lender may require that Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower,
and such dues, fees and assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices
of amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender
waives Borrower’s obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's
obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in writing.
In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due for any Escrow
Items for which payment of Funds has been waived by Lender and, if Lender requires, shall furnish to Lender
receipts evidencing such payment within such time period as Lender may require. Borrower’s obligation to make
such payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement contained in
this Security Instrument, as the phrase “covenant and agreement” is used in Section 9. If Borrower is obligated to
pay Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item,
Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be obligated under
Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or all Escrow Items at any
time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all
Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under

 

Loan No:

Morida Mortgage-Single Family-Fannie Mae/Freddle Mac UNIFORM INSTRUMENT MERS Modified Form 3010 01/01

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RESPA. Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of
expenditures of future Escrow Items or otherwise in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or
entity (including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan
Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender
shall not charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying
the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make
such a charge. Unless an agreement is made in writing or Applicable Law requires interest to be paid on the Funds,
Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree
in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an
annual accounting of the Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for
the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under
RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
necessary to make up the shortage in accordance with RESPA, but in no more than 12 monthly payments. If there is
a deficiency of Funds held in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA,
and Borrower shail pay to Lender the amount necessary to make up the deficiency in accordance with RESPA, but in
no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender.

4, Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or ground
rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the extent that
these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shali promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends
against enforcement of the lien in, legal proceedings which in Lender’s opinion operate to prevent the enforcement
of the lien while those proceedings are pending, but only until such proceedings are concluded; or (c) secures from
the holder of the lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. If
Lender determines that any part of the Property is subject to a lien which can attain priority over this Security
Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days of the date on which that notice
is given, Borrower shall satisfy the lien or take one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
service used by Lender in connection with this Loan.

3. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by fire, hazards included within the term “extended coverage,” and any other hazards
including, but not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall be
maintained in the amounts (including deductible levels) and for the periods that Lender requires. What Lender
requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier
providing the insurance shall be chosen by Borrower subject to Lender’s right to disapprove Borrower’s choice,
which right shall not be exercised unreasonably. Lender may require Borrower to pay, in connection with this Loan,
either: (a)a one-time charge for flood zone determination, certification and tracking services; or (b) a one-time
charge for flood zone determination and certification services and subsequent charges each time remappings or
similar changes occur which reasonably might affect such determination or certification. Borrower shall also be
responsible for the payment of any fees imposed by the Federal Emergency Management Agency in connection with
the review of any flood zone determination resulting from an objection by Borrower.

if Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage,
at Lender’s option and Borrower’s expense. Lender is under no obligation to purchase any particular type or amount
of coverage. Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower’s
equity in the Property, or the contents of the Property, against any risk, hazard or liability and might provide greater

 

Loan No:

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or lesser coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so
obtained might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts
disbursed by Lender under this Section 5 shall become additional debt of Borrower secured by this Security
Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be payable,
with such interest, upon notice from Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shal] be subject to Lender’s right to
disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an
additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender requires,
Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices, If Borrower obtains any
form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
policy shall include a standard mortgage clause and shal! name Lender as mortgagee and/or as an additional loss
payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any
insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration
or repair of the Property, if the restoration or repair is economically feasible and Lender’s security is not lessened.
During such repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender
has had an opportunity to inspect such Property to ensure the work has been completed to Lender’s satisfaction,
provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and
restoration in a single payment or in a series of progress payments as the work is completed. Unless an agreement is
made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be
required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If
the restoration or repair is not economically feasible or Lender’s security would be lessened, the insurance proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any,
paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.

if Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and
related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has
offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the
notice is given. In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby
assigns to Lender (a) Borrower’s rights to any insurance proceeds in an amount not to exceed the amounts unpaid
under the Note or this Security Instrument, and (b) any other of Borrower’s rights (other than the right to any refund
of unearned premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights
are applicable to the coverage of the Property. Lender may use the insurance proceeds either to repair or restore the
Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower’s principal residence
within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees in
writing, which consent shall not be unreasonably withheld, or unless extenuating circumstances exist which are
beyond Borrower’s control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether
or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property
from deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that
repair or restoration is not economically feasible, Borrower shal! promptly repair the Property if damaged to avoid
further deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage to, or
the taking of, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has
released proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single
payment or in a series of progress payments as the work is completed. If the insurance or condemnation proceeds
are not sufficient to repair or restore the Property, Borrower is not relieved of Borrower’s obligation for the
completion of such repair or restoration.

 

Loan No:

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Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable
cause, Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at
the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower’s Loan Application. Bortower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent
gave materially false, misleading, or inaccurate information or statements to Lender {or failed to provide Lender
with material information) in connection with the Loan. Material representations include, but are not limited to,
representations concerning Borrower's occupancy of the Property as Borrower’s principal residence.

9. Protection of Lender’s Interest in the Property and Rights Under this Security Instrument. If
(a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal
proceeding that might significantly affect Lender’s interest in the Property and/or rights under this Security
Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien
which may attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has
abandoned the Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's
interest in the Property and rights under this Security Instrument, including protecting and/or assessing the value of
the Property, and securing and/or repairing the Property. Lender’s actions can include, but are not limited to:
(a) paying any sums secured by a lien which has priority over this Security Instrument; (b) appearing in court; and
(c) paying reasonable attorneys’ fees to protect its interest in the Property and/or rights under this Security
Instrument, including its secured position in a bankruptcy proceeding. Securing the Property includes, but is not
limited to, entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
from pipes, eliminate building or other code violations or dangerous conditions, and have utilities turned on or off.
Although Lender may take action under this Section 9, Lender does not have to do so and is not under any duty or
obligation to do so. It is agreed that Lender incurs no liability for not taking any or all actions authorized under this
Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured
by this Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and
shal! be payable, with such interest, upon notice from Lender to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. If
Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the
merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the
Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that previously
provided such insurance and Borrower was required to make separately designated payments toward the premiums
for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage substantially equivalent to the
Mortgage Insurance previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage
Insurance previously in effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent
Mortgage Insurance coverage is not available, Borrower shall continue to pay to Lender the amount of the separately
designated payments that were due when the insurance coverage ceased to be in effect. Lender will accept, use and
retain these payments as a non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall not be required to
pay Borrower any interest or earnings on such loss reserve. Lender can no longer require loss reserve payments if
Mortgage Insurance coverage (in the amount and for the period that Lender requires) provided by an insurer selected
by Lender again becomes available, is obtained, and Lender requires separately designated payments toward the
premiums for Mortgage Insurance, If Lender required Mortgage Insurance as a condition of making the Loan and
Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance,
Borrower shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable
loss reserve, until Lender’s requirement for Mortgage Insurance ends in accordance with any written agreement
between Borrower and Lender providing for such termination or until termination is required by Applicable Law.
Nothing in this Section 10 affects Borrower’s obligation to pay interest at the rate provided in the Note.

 

loan No: ss

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Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter
into agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms
and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements.
These agreements may require the mortgage insurer to make payments using any source of funds that the mortgage
insurer may have available (which may include funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other
entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive from (or
might be characterized as) a portion of Borrower’s payments for Mortgage Insurance, in exchange for sharing or
modifying the mortgage insurer’s risk, or reducing losses. If such agreement provides that an affiliate of Lender
takes a share of the insurer’s risk in exchange for a share of the premiums paid to the insurer, the arrangement is
often termed “captive reinsurance.” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
Insurance, or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe
for Mortgage Insurance, and they will not entitle Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has — if any — with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance,
to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any Mortgage
Insurance premiums that were unearned at the time of such cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shail be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender’s security is not lessened. During such
repair and restoration period, Lender shal! have the right to hold such Miscellaneous Proceeds until Lender has had
an opportunity to inspect such Property to ensure the work has been completed to Lender’s satisfaction, provided
that such inspection shall be undertaken promptly. Lender may pay for the repairs and restoration in a single
disbursement or in a series of progress payments as the work is completed. Unless an agreement is made in writing
ot Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be required to pay
Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not economically
feasible or Lender’s security would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by
this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous
Proceeds shall be applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shal!
be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to
Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount
of the sums secured by this Security Instrument immediately before the partial taking, destruction, or loss in value,
unless Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be
reduced by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of
the sums secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair market
value of the Property immediately before the partial taking, destruction, or loss in value. Any balance shall be paid
to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of
the Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums
secured immediately before the partia] taking, destruction, or loss in value, unless Borrower and Lender otherwise

agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument
whether or not the sums are then due.

 

 

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If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party
(as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to
Lender within 30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous
Proceeds either to restoration or repair of the Property or to the sums secured by this Security Instrument, whether or
not then due. “Opposing Party” means the third party that owes Borrower Miscellaneous Proceeds or the party
against whom Borrower has a right of action in regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender’s judgment, could result in forfeiture of the Property or other material impairment of Lender’s interest in the
Property or rights under this Security Instrument. Borrower can cure such a default and, if acceleration has
occurred, reinstate as provided in Section 19, by causing the action or proceeding to be dismissed with a ruling that,
in Lender’s judgment, precludes forfeiture of the Property or other material impairment of Lender’s interest in the
Property or rights under this Security Instrument. The proceeds of any award or claim for damages that are
attributable to the impairment of Lender’s interest in the Property are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in
the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment
or modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or
any Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in
Interest of Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of
Borrower or to refuse to extend time for payment or otherwise modify amortization of the sums secured by this
Security Instrument by reason of any demand made by the original Borrower or any Successors in Interest of
Borrower. Any forbearance by Lender in exercising any right or remedy including, without limitation, Lender's
acceptance of payments from third persons, entities or Successors in Interest of Borrower or in amounts less than the
amount then due, shall not be a waiver of or preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and
agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this
Security Instrument but does not execute the Note (a “co-signer”): (a) is co-signing this Security Instrument only to
mortgage, grant and convey the co-signer’s interest in the Property under the terms of this Security Instrument; (b) is
not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any
other Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this
Security Instrument or the Note without the co-signer’s consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower’s
rights and benefits under this Security Instrument. Borrower shall not be released from Borrower’s obligations and
liability under this Security Instrument unless Lender agrees to such release in writing. The covenants and
agreements of this Security Instrument shall bind (except as provided in Section 20) and benefit the successors and
assigns of Lender.

14, Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender’s interest in the Property and rights under this Security
Instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees. In regard to any
other fees, the absence of express authority in this Security Instrument to charge a specific fee to Borrower shall not
be construed as a prohibition on the charging of such fee. Lender may not charge fees that are expressly prohibited
by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that
the interest or other loan charges collected or to be collected in connection with the Loan exceed the permitted
limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted
limit; and (b) any sums already collected from Borrower which exceeded permitted limits will be refunded to
Borrower. Lender may choose to make this refund by reducing the principal owed under the Note or by making a
direct payment to Borrower. If a refund reduces principal, the reduction will be treated as a partial prepayment
without any prepayment charge (whether or not a prepayment charge is provided for under the Note). Borrower’s

 

 

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acceptance of any such refund made by direct payment to Borrower will constitute a waiver of any nght of action
Borrower might have arising out of such overcharge.

15, Notices, All notices given by Borrower or Lender in connection with this Security Instrument must be
in writing, Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given
to Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other
means. Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly
requires otherwise. The notice address shall be the Property Address unless Borrower has designated a substitute
notice address by notice to Lender. Borrower shall promptly notify Lender of Borrower’s change of address. If
Lender specifies a procedure for reporting Borrower’s change of address, then Borrower shall only report a change
of address through that specified procedure. There may be only one designated notice address under this Security
Instrument at any one time. Any notice to Lender shall be given by delivering it or by mailing it by first class mail
to Lender’s address stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrument shall not be deemed to have been given to Lender until actually received by
Lender. If any notice required by this Security Instrument is also required under Applicable Law, the Applicable
Law requirement will satisfy the corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed
by federal law and the law of the jurisdiction in which the Property is located, All rights and obligations contained
in this Security Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law
might explicitly or implicitly allow the parties to agree by contract or it might be silent, but such silence shall not be
construed as a prohibition against agreement by contract. In the event that any provision or clause of this Security
Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other provisions of this Security
Instrument or the Note which can be given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and include the
plural and vice versa; and (c) the word “may” gives sole discretion without any obligation to take any action.

17. Borrower’s Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, “Interest
in the Property” means any legal or beneficial interest in the Property, including, but not limited to, those beneficial
interests transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent
of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent,
Lender may require immediate payment in full of all sums secured by this Security Instrument. However, this
option shali not be exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shal! provide
a period of not less than 30 days from the date the notice is given in accordance with Section 15 within which
Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the
expiration of this period, Lender may invoke any remedies permitted by this Security Instrument without further
notice or demand on Borrower.

19. Borrower’s Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower
shall have the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of:
(a) five days before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such
other period as Applicable Law might specify for the termination of Borrower’s right to reinstate; or (c) entry of a
judgment enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which
then would be due under this Security Instrument and the Note as if no acceleration had occurred; (b) cures any
default of any other covenants or agreements; (c) pays all expenses incurred in enforcing this Security Instrument,
including, but not limited to, reasonable attorneys’ fees, property inspection and valuation fees, and other fees
incurred for the purpose of protecting Lender’s interest in the Property and rights under this Security Instrument; and
(d) takes such action as Lender may reasonably require to assure that Lender’s interest in the Property and rights
under this Security Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall
continue unchanged. Lender may require that Borrower pay such reinstatement sums and expenses in one or more

 

 

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of the following forms, as selected by Lender: (a) cash; (b) money order: (c) certified check, bank check, treasurer’s
check or cashier’s check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this
Security Instrument and obligations secured hereby shall remain fully effective as if no acceleration had occurred.
However, this right to reinstate shall not apply in the case of acceleration under Section 18.

20, Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the
Note (together with this Security Instrument) can be sold one or more times without prior notice to Borrower, A sale
might result in a change in the entity (known as the “Loan Servicer”) that collects Periodic Payments due under the
Note and this Security Instrument and performs other mortgage loan servicing obligations under the Note, this
Security Instrument, and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated
to a sale of the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of the change
which will state the name and address of the new Loan Servicer, the address to which payments should be made and
any other information RESPA requires in connection with a notice of transfer of servicing. If the Note is sold and
thereafter the Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing
obligations to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are
not assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party’s actions pursuant to this Security
Instrument or that alleges that the other party has breached any provision of, or any duty owed by reason of, this
Security Instrument, until such Borrower or Lender has notified the other party (with such notice given in
compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
reasonable period after the giving of such notice to take corrective action. If Applicable Law provides a time period
which must elapse before certain action can be taken, that time period will be deemed to be reasonable for purposes
of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22 and
the notice of acceleration given to Borrower pursuant to Section 18 shall be deemed to satisfy the notice and
opportunity to take corrective action provisions of this Section 20.

21, Hazardous Substances. As used in this Section 21: (a) “Hazardous Substances” are those substances
defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances:
gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents.
materials containing asbestos or formaldehyde, and radioactive materials; (b) “Environmental Law” means federal
laws and laws of the jurisdiction where the Property is located that relate to health, safety or environmental
protection; (c) “Environmental Cleanup” includes any response action, remedial action, or removal action, as
defined in Environmental Law; and (d) an “Environmental Condition” means a condition that can cause, contribute
to, or otherwise trigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow
anyone else to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b) which
creates an Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous substance,
creates a condition that adversely affects the value of the Property. The preceding two sentences shall not apply to
the presence, use, or storage on the Property of small quantities of Hazardous Substances that are generally
recognized to be appropriate to normal residential uses and to maintenance of the Property (including, but not
limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or
other action by any governmental or regulatory agency or private party involving the Property and any Hazardous
Substance or Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition,
including but not limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance,
and (c) any condition caused by the presence, use or release of a Hazardous Substance which adversely affects the
value of the Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any private
party, that any removal or other remediation of any Hazardous Substance affecting the Property is necessary, —
Borrower shall promptly take all necessary remedial actions in accordance with Environmental Law. Nothing herein
shall create any obligation on Lender for an Environmental Cleanup,

 

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22, Acceleration; Remedies. Lender shail give notice to Borrower prior to acceleration following
Borrower’s breach of any covenant or agreement in this Security Instrument (but not prior to acceleration
under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the
action required to cure the default; (c) a date, not less than 30 days from the date the notice is given to
Borrower, by which the default must be cured; and (d) that failure to cure the default on or before the date
specified in the notice may result in acceleration of the sums secured by this Security Instrument, foreclosure
by judicial proceeding and sale of the Property. The notice shall further inform Borrower of the right to
reinstate after acceleration and the right to assert in the foreclosure procceeding the non-existence of a default
or any other defense of Borrower to acceleration and foreclosure. If the default is not cured on or before the
date specified in the notice, Lender at its option may require immediate payment in full of all sums secured by
this Security Instrument without further demand and may foreclose this Security Instrument by judicial
proceeding. Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in this
Section 22, including, but not timited to, reasonable attorneys’ fees and costs of title evidence.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall release this
Security Instrument. Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this
Security Instrument, but only if the fee is paid to a third party for services rendered and the charging of the fee is
permitted under Applicable Law.

24. Attorneys’ Fees. As used in this Security Instrument and the Note, attorneys’ fees shall include those
awarded by an appellate court and any attorneys’ fees incurred in a bankruptcy proceeding.

25. Jury Trial Waiver. The Borrower hereby waives any right to a trial by jury in any action, proceeding,
claim, or counterclaim, whether in contract or tort, at law or in equity, arising out of or in any way related to this
Security Instrument or the Note.

 

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security
Instrument and in any Rider executed by Borrower and recorded with it.

Signed, sealed and delivered in the presence of:

Witnesses:

 

(Seal)
Andre J Beauharnais -Borrower

[Printed, Typewritten, or, Stamped Name}

 

LEO! Ico2Uler

Printed, Typewritten, or Stamped Name: Post-Office Address: 1575 northwest 124th Street,

North Miami, FL, 33176
1 ,
‘ Vax] (Seal)

 

 

Printed, Typewritten, or Stamped Name: Post-Office Address: 1575 Northwest 124th Street,
North Miami, FL 33176

(Seal)

-Borrower
{Printed, Typewritien, or, Stamped Name]

 

 

 

Post-Office Address:
(Seal)
-Borrower
{Printed, Typewritten, or, Samped Name]
Post-Office Address:
Loan No: |
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State of PLoRin4 §
County of DASE

The foregoing instrument was acknowledged before me this ae P), 3.00 © ,
[date}]by Andre J Beauharnais and Marie N Beauharnais Wor vic COU pie

Hudrand 4 We LX

who is personally known to me or who has produced D ; fo
[type of identification] as identification.

[name of person acknowledging],

heasudo VJ

Signature of Person Taking Ac tedgment

od Leon J. Kornfeld  4E@al Kaw Fer) rds
Leon J. Kornfeld Name Typed, Printed or Stamped A

We

Commission # DD317725
Bonded Thru Atlantic Bonding Co., Inc. Title or Rank

 

 

tres: MAY 09, 2008

 

Serial Number, if any

 

Loan No:

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BOF BK 248935 FG 2512
LAST FAGE

LEGAL DESCRIPTION
(Exhibit A)

06NL27523

THE FOLLOWING DESCRIBED LAND, SITUATE, LYING AND BEING IN THE MIAMI-
DADE COUNTY, FLORIDA, TO-WIT:
LOT 17, BLOCK 1, GREGORY HEIGHTS, ACCORDING TO THE PLAT THEREOF, AS

RECORDED IN PLAT BOOK 49, PAGE 75, OF THE PUBLIC RECORDS OF MIAMI-DADE
COUNTY, FLORIDA.

BEING THE SAME PREMISES AS CONVEYED IN DEED FROM YVONNE MONDS AND
JESSE MONDS, WIFE AND HUSBAND RECORDED 12-21-2005 IN DOCUMENT NUMBER
2005R 1325532, BOOK 24076, PAGE 3840 IN SAID COUNTY AND STATE.

Tax Id: my, - HOY-OH-O1T10

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